Case 2:17-cv-00656-JES-CM Document 77 Filed 09/28/18 Page 1 of 4 PageID 2009



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 FT. MYERS DIVISION

DONIA GOINES,

         Plaintiff,

v.                                                            Case No.: 2:17-CV-00656-JES-CM

LEE MEMORIAL HEALTH SYSTEM
d/b/a CAPE CORAL HOSPITAL;
and JEOVANNI HECHAVARRIA, R.N.,

         Defendants.
                                                      /

                     DEFENDANT LEE HEALTH’S MOTION
               TO EXTEND TIME TO COMPLY WITH COURT ORDER,
             MEMORANDUM OF LAW AND CERTIFICATE OF GOOD FAITH

         Defendant Lee Memorial Health System d/b/a Cape Coral Hospital (hereinafter

“Defendant Lee Health”), by and through its undersigned attorneys, hereby moves the Court for

an additional day to provide documents responsive to the Court’s September 14, 2018 discovery

order.

                                   MEMORANDUM OF LAW

         Defendant Lee Health was ordered by this Court to provide: (1) all risk management

documents related to any allegation of sexual assault for a period of five years; and (2) all employee

relations files relating to employees accused of sexual assault as identified under subsection (1).

Defendant Lee Health was provided two weeks in which to produce these documents.

         As Defendant Lee Health explained in its original objection to producing the requested

information, it is a very time consuming process to produce the documents requested. First,

multiple databases had to be searched using various word search terms to identify the allegations

of sexual assault. The process of identifying allegations of sexual assault over a five year period



5445913v.1
Case 2:17-cv-00656-JES-CM Document 77 Filed 09/28/18 Page 2 of 4 PageID 2010



was time consuming, not based on the number of allegations, but because Defendant Lee Health

ran multiple searches in an effort to make certain it identified every single responsive matter.

Second, once the handful of “matters” were identified, the responsive documents had to be located

and retrieved from a number of places, including both electronic and paper files.

        Third, after the files were located, the files had to be converted into electronic format, and

every single page had to be reviewed to remove all confidential and protected information. As

these matters involve patients, it has been especially critical that all confidential and protected

information be redacted from the records. There are only a handful of matters responsive to the

Court’s Order, however, properly and thoroughly redacting the files is a time consuming process.

        While the very small number of matters would suggest that the production of these

documents is not a burdensome task, based on the broad scope of the requests to include “all

documents”, each file is extremely voluminous and it takes a long time to review each file and

redact all of the confidential and protected information. As of this time, Defendant Lee Health

and its counsel have spent more than 50 hours on identifying, gathering and redacting the

documents.

        While all of the documents have been gathered, Defendant Lee Health has not been able to

properly redact all of the confidential and protected information in order to meet the Court’s

production deadline. Defendant Lee Health has produced to Plaintiff those documents which have

been redacted, however, there are additional documents that need to be redacted and produced.

Accordingly, Defendant Lee Health seeks an additional one day in order to produce the remaining

documents to counsel for Plaintiff, making the remaining production due on Monday, October 1,

2018.




5445913v.1
Case 2:17-cv-00656-JES-CM Document 77 Filed 09/28/18 Page 3 of 4 PageID 2011



        This request is made in good faith. Defendant Lee Health has been diligently working on

the production, however, it is an extremely time consuming process given the broad nature of the

request to include every single document regarding any such allegation, the manner by which the

information had to be searched and the importance of protecting confidential information when

producing the documents. Plaintiff will not be prejudiced by this delay, as there are no other

deadlines or depositions scheduled between today and Monday.

        Accordingly, as set forth above, Defendant Lee Health respectfully requests that this Court

grant a one day extension to provide the remaining responsive documents.

                              CERTIFICATE OF GOOD FAITH

        The undersigned has reached out to counsel for Plaintiff in a good faith effort to see if he

opposes the relief requested herein. Specifically, the undersigned left a voicemail message for

counsel and sent an email to counsel. The undersigned has not yet heard back from opposing

counsel regarding the relief sought. The undersigned also reached out to Defendant Hechavarria,

but has not yet heard back from him.



                              /s/Angelique Groza Lyons
                              Angelique Groza Lyons, Esq., Fla. Bar No. 118801
                              alyons@constangy.com
                              Allison R. Wallrapp, Esq., Fla. Bar No. 106779
                              awallrapp@constangy.com
                              CONSTANGY, BROOKS, SMITH & PROPHETE, LLP
                              100 North Tampa Street, Suite 3350
                              Post Office Box 1840
                              Tampa, Florida 33601-1840
                              (813) 223-7166 / Fax: (813) 223-2515
                              Attorney for Defendant Lee Health




5445913v.1
Case 2:17-cv-00656-JES-CM Document 77 Filed 09/28/18 Page 4 of 4 PageID 2012



                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 28th of September, 2018, a true and correct copy of the
foregoing was filed with the Clerk of Court using the CM/ECF System, which will send an
electronic notice of filing to, or was otherwise served via email on, the following:

 Ryan A. Fogg, Esq.                            Jeovanni H. Hechavarria, R.N.
 David J. Halberg, Esq.                        5320 Summerlin Rd., Unit 9
 DAVID J. HALBERG, P.A.                        Ft. Myers, FL 33919
 1615 Forum Place, Ste. 3-B                    JHHechavarria@gmail.com
 West Palm Beach, FL 33401
 Service@HalbergLaw.com

                                          /s/Angelique Groza Lyons
                                          Attorney




5445913v.1
